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1    Ethan Levi, OSB No. 994255
     Email: ethan@lmhlegal.com
2    Levi Merrithew Horst PC
     610 SW Alder Street, Suite 415
3
     Portland, Oregon 97205
4
     Telephone: (971) 229-1241
     Facsimile: (971) 544-7092
5

6

7                                UNITED STATES DISTRICT COURT

8                                     DISTRICT OF OREGON

9                                     PORTLAND DIVISION

10

11   JAROD BOWMAN, JOSHAWN                             Case No. 3:21-cv-1637
     DOUGLAS-SIMPSON
12
                   Plaintiffs,                         COMPLAINT
13

14          vs.                                        (Civil Rights – Violation of the Due
                                                       Process Clause of the 14th Amendment
15   DELORES MATTEUCCI, Superintendent of              to the United States Constitution)
     the Oregon State Hospital, in her individual
16   and official capacity, PATRICK ALLEN,             INJUNCTIVE RELIEF,
     Director of the Oregon Health Authority, in       DECLARATORY RELIEF AND
17   his individual and official capacity              DAMAGES
18                  Defendant.                         DEMAND FOR JURY TRIAL
19

20
                                         INTRODUCTION
21
            1.     This is an action for declaratory and injunctive relief and for damages for two
22
     people who remain incarcerated at the Multnomah County Jail months after a court found them
23

24

25


      COMPLAINT - 1                                               LEVI MERRITHEW HORST PC
                                                                  610 SW ALDER ST. SUITE 415
                                                                      PORTLAND, OR 97205
                                                                T: 971.229.1241 | F: 971.544.7092
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1    “Guilty Except for Insanity” and ordered them to be transported to the Oregon State Hospital
2    “without unreasonable delay,” for custody, care and treatment for their mental health disorders.
3
             2.      Multnomah County Circuit Court Judge Nan Waller found plaintiff Bowman
4
     “Guilty Except for Insanity” on March 10, 2021. Judge Waller ordered that plaintiff Bowman
5
     be transported to the Oregon State Hospital “without unreasonable delay.”
6
             3.      Multnomah County Circuit Court Judge Nan Waller found plaintiff Douglas-
7
     Simpson “Guilty Except for Insanity” on May 5, 2021. Judge Waller ordered plaintiff Douglas-
8
     Simpson “immediately TRANSPORTED to the Oregon State Hospital.”
9

10
             4.      Instead of transporting plaintiffs and admitting them to the hospital, defendants

11   ignored the trial court’s order, ignored repeated contempt findings, and allowed plaintiffs to

12   remain in the custody of the Multnomah County Sheriff, jailed in the Multnomah County Jail

13   from the time of their commitments until the present (almost six months for plaintiff Douglas-

14   Simpson and almost eight months for plaintiff Bowman). Defendants have ignored the court’s
15
     orders and plaintiffs are currently being held indefinitely without any timeline for transport or
16
     treatment. Plaintiffs request that this Court enjoin defendants and order them to immediately
17
     transport plaintiffs to the Oregon State Hospital and declare as unlawful, defendants’ practice
18
     of allowing persons adjudicated guilty except for insanity and committed to the state hospital
19
     to remain in jail for more than seven days from the date of the adjudication. Plaintiffs also seek
20
     damages for the unreasonable length of time defendants have allowed plaintiffs to remain in jail
21
     and subjected to punishment without any possibility of release rather than treatment with the
22

23   possibility of release.

24                                           JURISDICTION

25


      COMPLAINT - 2                                                   LEVI MERRITHEW HORST PC
                                                                      610 SW ALDER ST. SUITE 415
                                                                          PORTLAND, OR 97205
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1             5.     This Court has federal question jurisdiction under 28 U.S.C. §§1331 and 1343,
2    in that this is an action arising under the Fourteenth Amendment to the United States
3
     Constitution. This court has jurisdiction to award declaratory and injunctive relief pursuant to
4
     42 U.S.C. §1983.
5
              6.     Venue is appropriate in this Court under 28 U.S.C. §1391(b)(2) since a
6
     substantial number of events that gave rise to this complaint occurred in this district.
7
                                                 PARTIES
8
              7.     Plaintiff, Jarod Bowman, was a defendant in a Multnomah County criminal case,
9

10
     19CR81195. On March 10, 2021, Multnomah County Circuit Judge Nan Waller adjudicated

11   plaintiff guilty except for insanity and ordered the Multnomah County Sheriff to transport

12   plaintiff to the Oregon State Hospital without unreasonable delay. Despite the trial court’s order

13   and subsequent findings of contempt, the Oregon State Hospital will not admit plaintiff into the

14   Oregon State Hospital and as a result the Multnomah County Sheriff will not transport plaintiff
15
     there.
16
              8.     Plaintiff, Joshawn Douglas-Simpson, was a defendant in a Multnomah County
17
     criminal case, 18CR21237. On May 5, 2021, Multnomah County Circuit Judge Nan Waller
18
     adjudicated plaintiff guilty except for insanity and ordered him transported to the Oregon State
19
     Hospital immediately. Despite the trial court’s order and subsequent findings of contempt, the
20
     Oregon State Hospital will not admit plaintiff and as a result the Multnomah County Sheriff
21
     will not transport plaintiff there.
22

23            9.     Defendant, Dolores Matteucci is the Superintendent of the Oregon State

24   Hospital, the facility where defendants who have been adjudicated guilty except for insanity

25


      COMPLAINT - 3                                                   LEVI MERRITHEW HORST PC
                                                                      610 SW ALDER ST. SUITE 415
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1    (GEI) are housed when they are committed and found to be dangerous. As such, she is directly
2    responsible for ensuring that the Oregon State Hospital takes custody of persons adjudicated as
3
     guilty except for insanity and that it operates in compliance with federal law. She is sued in her
4
     official and individual capacities for her actions under color of state law.
5
            10.     Defendant, Patrick Allen, is the Director of the Oregon Health Authority (OHA)
6
     which oversees the function and management of the Oregon State Hospital. He is responsible
7
     for ensuring that the Oregon State Hospital is properly managed and functions in compliance
8
     with federal and state law. He is sued in his official and individual capacities for his actions
9

10
     under color of state law.

11                                     FACTUAL ALLEGATIONS

12          11.     On March 10, 2021, Mr. Bowman was found guilty except for insanity (GEI)

13   after a stipulated facts trial in front Multnomah Circuit Court Judge Nan Waller in case number

14   19CR81195.
15
            12.     On March 12, 2021, Judge Waller issued her written judgment which found, “as
16
     a result of a qualifying mental disorder at the time of engaging in criminal conduct, the
17
     defendant (plaintiff Bowman) lacked a substantial capacity either to appreciate the criminality
18
     of the conduct or to conform his/her conduct to the requirements of law; that the defendant
19
     would have been guilty of a felony during a criminal episode, and; that because of the
20
     defendant’s qualifying mental disorder, he/she presents a substantial danger to others and is not
21
     a proper subject for conditional release at this time, and requires commitment to a state mental
22

23   hospital.”

24

25


      COMPLAINT - 4                                                   LEVI MERRITHEW HORST PC
                                                                      610 SW ALDER ST. SUITE 415
                                                                          PORTLAND, OR 97205
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1             13.      Judge Waller further ordered that “the defendant (plaintiff Bowman) be, and
2    he/she hereby is, committed to the custody of the state mental hospital and that the Multnomah
3
     County Sheriff shall transport said defendant to said hospital without unreasonable delay.”1
4
              14.      On May 5, 2021, Douglas-Simpson was found GEI following a stipulated facts
5
     trial to Multnomah County Circuit Court Judge Nan Waller in case number 18CR21237. Judge
6
     Waller ordered that plaintiff Douglas-Simpson be immediately transported to the Oregon State
7
     Hospital for custody, care and treatment.
8
              15.      The defendants never admitted plaintiffs to the Oregon State Hospital as Judge
9

10
     Waller ordered on March 10, 2021 and May 5, 2021 and both plaintiffs remain jailed at the

11   Multnomah County Detention Center.

12            16.      On June 4, 2021, Plaintiffs’ criminal defense lawyers filed a motion for an order

13   to show cause as to why the Oregon State Hospital and the Oregon Health Authority should not

14   be found in contempt based on their failure to admit and take custody of plaintiffs.
15
              17.      In July, 2021, Judge Waller held a contempt hearing. At that contempt hearing,
16
     the defendants argued that they should not be found to be in willful contempt because the
17
     Oregon State Hospital was at 95% capacity and they simply did not have room for plaintiffs.
18
     The defendants also argued that a federal injunction from 2002, in Oregon Advocacy Center v.
19

20

21

22
     1
       Although under Judge Waller’s March 10, 2021 GEI finding, the Multnomah County Sheriff is charged with
23   transporting plaintiff to the Oregon State Hospital, the Multnomah County Sheriff will only transport a prisoner to
     the Oregon State Hospital if the Oregon State Hospital will accept that prisoner. In the first contempt proceeding,
     the parties stipulated that the Multnomah County Sheriffs’ Office does not have the ability to transfer plaintiff to
24   the Oregon State Hospital because the Oregon State Hospital is in complete control of admissions and had not
     given approval to the Multnomah County Sheriff’s Office to transport plaintiff.
25


         COMPLAINT - 5                                                           LEVI MERRITHEW HORST PC
                                                                                 610 SW ALDER ST. SUITE 415
                                                                                     PORTLAND, OR 97205
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1    Mink2, mandated that the defendants prioritize the transport of other mentally-ill prisoners –
2    those who had been found unable to aid and assist – over prisoners similarly situated to the
3
     plaintiffs. Despite these arguments, Judge Waller found the Oregon State Hospital and Oregon
4
     Health Authority in willful contempt of her order. The court found that the Oregon State
5
     Hospital had the bed space and means to comply with its order but instead chose not to comply.
6
               18.     On September 22, 2021, Judge Waller issued her written order of contempt: “It
7
     is hereby ordered that Mr. Bowman and Mr. Douglas-Simpson [plaintiffs] be transported and
8
     admitted to OSH within 7 days of the date of this judgment. OSH shall deposit $100 for each
9

10
     day that Mr. Bowman and $100 for each day that Mr. Douglas-Simpson remain in custody of

11   MCSO starting from September 10, 2021. OSH shall make the deposits to a Trust Fund with

12   the Multnomah County Sheriff’s Office to exclusively fund staff training for corrections staff

13   on managing behavioral health issues of people in custody in Multnomah County Jails.”

14             19.     Seven days following this order (September 29, 2021) defendants still had not
15
     transported plaintiffs to the Oregon State Hospital.
16
               20.     On October 1, 2021, plaintiffs filed a second motion for contempt against
17
     defendants. In plaintiffs’ request for remedies they asked for, “(1) Payment of a sum of money
18
     of $500 a day paid directly to plaintiffs for the “loss, injury, and costs suffered by him as the
19
     result of the contempt of court; (2) payment of all or part of any attorney fees incurred by Mr.
20
     Bowman as the result of contempt, to be paid to the indigent defense fund; and (3) an order
21
     designed to ensure compliance with the prior court order.”
22

23

24   2
         3:02-cv-00339-PA

25


         COMPLAINT - 6                                               LEVI MERRITHEW HORST PC
                                                                     610 SW ALDER ST. SUITE 415
                                                                         PORTLAND, OR 97205
                                                                   T: 971.229.1241 | F: 971.544.7092
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1             21.     On October 13, 2021, Judge Waller held a second contempt hearing. Judge
2    Waller once again found defendants in contempt. Judge Waller ordered the Oregon State
3
     Hospital to transport plaintiffs within five days of the hearing and ordered it to pay $2,500 for
4
     each plaintiff for each day following October 18, 2021 that each plaintiff remained in the
5
     custody of the Multnomah County Sheriff.
6
              22.     As of the filing of this complaint, defendants have not transported plaintiffs from
7
     the Multnomah County Jail to the Oregon State Hospital for custody, care and treatment.
8
              23.     While in the Multnomah County Jail, plaintiffs do not have access to the care
9

10
     and treatment that he could have availed himself of at the Oregon State Hospital.3

11            24.     While at the Multnomah County Jail, plaintiffs cannot and has not been

12   evaluated by treatment providers and evaluators at the Oregon State Hospital.

13            25.     While at the Multnomah County Jail, plaintiffs cannot and have not been

14   evaluated by mental health staff trained to determine whether plaintiffs continue to be a danger
15
     and therefore needs to be continued in custody, conditionally released or discharged.
16
              26.     While at the Multnomah County Jail, plaintiffs cannot and have not been
17
     provided with the care and treatment to ameliorate their symptoms such that the Psychiatric
18
     Security Review Board can approve a conditional release from the Oregon State Hospital to a
19
     lower custody level or release to the community. By not admitting and transporting plaintiffs to
20
     the Oregon State Hospital, defendants are responsible for this lack of care.
21

22

23

24   3
      In the contempt hearing, the Oregon State Hospital and the Oregon Health Authority stipulated that the
     Multnomah County Sheriff’s jails are not state mental hospitals per the GEI statute, ORS 161.327(1)(a).
25


         COMPLAINT - 7                                                         LEVI MERRITHEW HORST PC
                                                                               610 SW ALDER ST. SUITE 415
                                                                                   PORTLAND, OR 97205
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1           27.     During the almost eight months plaintiff Bowman has been in custody at the
2    Multnomah County Jail following Judge Waller’s order to transport him to the hospital and the
3
     court’s two contempt findings, he continues to suffer from mental health symptoms and his
4
     condition has declined. Despite being ordered to the Oregon State Hospital for “custody, care,
5
     and treatment,” under ORS 161.327, plaintiff has been housed in the Multnomah County Jail,
6
     the opposite of a therapeutic environment where instead of receiving court-ordered treatment,
7
     he has been punished as a criminal and has been denied care and treatment for his mental health
8
     disorders which led to his GEI findings. By not admitting and transporting plaintiff to the
9

10
     Oregon State Hospital, defendants are responsible for plaintiff’s decline.

11          28.     As a direct result of defendants’ refusal to transport plaintiff to the Oregon State

12   Hospital, defendant acted-out while at the Multnomah County Jail in response to his mental

13   health symptoms, got into a fight with another inmate and was placed in solitary confinement,

14   assigned a white smock and a higher, level 3, custody status. Plaintiff has now been deemed a
15
     “call for” when he appears in court. This means that he is a high security risk at court
16
     appearances. When he appears in court, he appears in leg restraints and belly chains because
17
     the Sheriff has alleged that he is mentally ill and presents a danger to others.
18
            29.     During the almost six months plaintiff Douglas-Simpson has been at the
19
     Multnomah County Jail following Judge Wallers order to transport him to the hospital, his
20
     mental health has also declined. He has been in suicide watch at the jail and he has not been
21
     getting his proper medication.
22

23          //

24          //

25


      COMPLAINT - 8                                                   LEVI MERRITHEW HORST PC
                                                                      610 SW ALDER ST. SUITE 415
                                                                          PORTLAND, OR 97205
                                                                    T: 971.229.1241 | F: 971.544.7092
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1           //
2                                       CAUSES OF ACTION
3
                            VIOLATION OF SUBSTANTIVE DUE PROCESS
4
            30.     Plaintiffs hereby incorporates all preceding paragraphs.
5
            31.     Due process requires that the nature and duration of confinement must bear
6
     reasonable relation to the purpose for which an individual is committed.
7
            32.     Once a person is found to be guilty except for insane and committed to the state
8
     hospital, the only lawful purpose of confinement is to treat that person until they are no longer
9

10
     mentally ill or no longer dangerous.

11          33.     Due Process requires that a person found guilty but insane be detained only so

12   long as they remain both mentally ill and dangerous.

13          34.     Due Process requires mental health treatment, evaluation and assessment and the

14   Multnomah County Jails does not have the means of providing the mental health treatment,
15
     evaluation and assessment required by the federal constitution.
16
            35.     Due Process requires that plaintiff who has been adjudicated “guilty except for
17
     insanity” no longer be punished and treated with the rigor of a person imprisoned as a criminal.
18
            36.     The defendants’ failure to transport plaintiffs to the Oregon State Hospital has
19
     led to plaintiffs’ indefinite confinement in a punitive jail setting, without mental health
20
     treatment, in violation of their due process rights under the Fourteenth Amendment to the United
21
     States Constitution.
22

23          //

24          //

25


      COMPLAINT - 9                                                  LEVI MERRITHEW HORST PC
                                                                     610 SW ALDER ST. SUITE 415
                                                                         PORTLAND, OR 97205
                                                                   T: 971.229.1241 | F: 971.544.7092
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1         //
2         WHEREFORE, Plaintiffs prays for judgments against defendants as follows:
3
          (1) Preliminary and permanent injunctive relief requiring defendants to immediately
4
               accept physical custody of plaintiffs.
5
          (2) A declaratory judgment declaring that defendants must accept physical custody of
6
               all persons found guilty except for insanity and committed to the Oregon State
7
               Hospital within seven days of such commitment;
8
          (3) For damages in the amount of $1,300,000 for the defendants’ failure to transport
9

10
               each plaintiff to the Oregon State Hospital resulting in extended punitive detention

11             of each plaintiff in violation of the Fourteenth Amendment to the United States

12             Constitution.

13        (4) An award of plaintiff’s reasonable attorney’s fees and costs pursuant to 42 U.S.C.

14             §1988;
15
          (5) All such other and further relief as this Court deems just and proper.
16

17
          DATED this 9th day of November, 2021.
18
                                                 By:    s/ Ethan Levi
19                                               Ethan Levi, OSB No. 994255
                                                 Attorney for Plaintiffs
20

21

22

23

24

25


     COMPLAINT - 10                                                LEVI MERRITHEW HORST PC
                                                                   610 SW ALDER ST. SUITE 415
                                                                       PORTLAND, OR 97205
                                                                 T: 971.229.1241 | F: 971.544.7092
